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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
      MICROSOFT CORPORATION, a
10    Washington corporation,                            No. 2:17-cv-01880
11                              Plaintiff,               COMPLAINT
12           v.
13    JOHN DOES 1–100,
14                              Defendants.
15

16                                       I.    INTRODUCTION
17           1.      Defendants are engaged in a complex internet “phishing” scheme to unlawfully
18    obtain account access credentials from Microsoft customers. Specifically, Defendants transmit
19    misleading and deceptive “Account Update” emails to Microsoft customers in an effort to
20    fraudulently obtain user names and passcodes for customers’ Microsoft Accounts (“MSAs”).
21    These emails falsely claim to be from Microsoft and direct the customers to a fake “Microsoft
22    Office” login page. Customers attempting to access and update their account on the phony
23    login page are at risk of their account information of being unlawfully captured and exploited
24    by Defendants. Microsoft files this lawsuit to protect its customers and stop Defendants’
25    cybercrime scheme.
26

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 1                                        II.           BACKGROUND

 2           2.      Phishing attacks are a serious and growing form of cybercrime that threatens

 3    millions of people in nearly every community across the planet. Cybercriminals target

 4    unsuspecting victims through spoofed emails purporting to be from legitimate entities or

 5    individuals. These emails are designed to and, in fact, often do trick people into divulging

 6    personal information, such as account credentials and credit card information. In addition to

 7    identity theft, phishing attacks can also expose innocent people to other harms, such as

 8    malicious software. Microsoft goes to great lengths to protect people from such attacks.

 9    Microsoft’s efforts to stop phishing attacks start with engineering safeguards into its products.

10    For example, Microsoft’s Office 365 product contains sophisticated tools to stop these attacks

11    from even reaching users. While Microsoft’s safeguards prevent many different types of

12    phishing attacks, some users are nevertheless tricked into divulging their sensitive information.

13    Microsoft investigates the cybercriminals behind phishing attacks and takes enforcement

14    actions, such as this one, to stop them.

15                                               III.     PARTIES

16           3.      Microsoft is a Washington corporation with its principal place of business in

17    Redmond, Washington. Microsoft develops, markets, distributes, and licenses computer

18    software, among other products and services.

19           4.      The true identities of Defendants are presently unknown to Microsoft. On

20    information and belief, Defendants designed, created, maintained, operated, and facilitated

21    domains defendworld.eu and azure1.us in furtherance of a scheme to defraud Microsoft’s

22    customers by (among other things) unlawfully gaining access to Microsoft Office 365 accounts

23    and other sensitive information as alleged in this Complaint.

24                                  IV.     JURISDICTION & VENUE

25           5.      The Court has original subject matter jurisdiction over Microsoft’s federal

26    claims pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a). This Court has

27    subject matter jurisdiction over Microsoft’s state claim pursuant to 28 U.S.C. § 1367(a) because

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 1    it is so related to the federal claims in this action within the Court’s original jurisdiction that

 2    they form part of the same case or controversy.

 3            6.      The Court has personal jurisdiction over Defendants because they purposefully

 4    directed their unlawful activities at Washington, and Microsoft’s claims arise from those

 5    activities. Defendants expressly aimed their conduct at Washington because they (1) had actual

 6    or constructive knowledge of Microsoft’s intellectual property rights (including Microsoft’s

 7    registered trademarks) and Microsoft’s residence in Washington where it controls its exclusive

 8    rights in its trademarks; (2) acted, at a minimum, with willful blindness to, or in reckless

 9    disregard of, Microsoft’s rights, and in reckless disregard of the likelihood that it was infringing

10    Microsoft’s trademarks; and (3) knew or should have known that their conduct would cause

11    harm to Microsoft in Washington because it is foreseeable that infringement of Microsoft’s

12    rights would cause harm likely to be suffered in Washington, the state of its residence,

13    incorporation, and headquarters. See Wash. Shoe Co. v. A-Z Sporting Goods, Inc., 704 F.3d

14    668 (9th Cir. 2012).

15            7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

16    substantial part of the events giving rise to the claims occurred in the Western District of

17    Washington.

18            8.      Pursuant to Local Civil Rule 3(d), intra-district assignment to the Seattle

19    Division is proper because the claims arose in this Division, where (a) Microsoft resides, (b)

20    the injuries giving rise to suit occurred, and (c) Defendants directed their unlawful conduct.

21                                               V.      FACTS

22            A.      Microsoft and Office 365

23            9.      Office 365 signifies a revolutionary change in the way that Microsoft delivers its

24    industry-leading software to consumers. Previously, Microsoft licensed its popular Office suite

25    of productivity products—which includes Word, Excel, PowerPoint, Outlook, OneNote,

26    Publisher, and Access, among others—to computer users who installed and stored the software

27    on their computer systems locally.

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 1           10.      With Office 365, Microsoft Office is available on a subscription basis that uses

 2    and leverages Microsoft’s Azure cloud technology. Now, customers purchase a subscription to

 3    Office 365 that provides access to both cloud and locally-stored versions of the software. This

 4    allows customers to receive instant access to the latest versions of each program, and use the

 5    programs across multiple devices (such as laptops, phones, tablets, etc.). An Office 365

 6    subscription also comes with cloud storage.

 7           11.      Microsoft has duly and properly registered a number of trademarks in the United

 8    States Patent and Trademark Office on the Principal Register, including without limitation:

 9                    a.     “MICROSOFT,” Trademark and Service Mark Registration No.

10                           1,200,236;

11                    b.     “Microsoft (Stylized) and Design 2012,” Trademark and Service Mark

12                           Registration No. 4,552,363;

13                    c.     “Microsoft Design (Color) 2012,” Trademark and Service Mark

14                           Registration No. 4,560,827;

15                    d.     “Office 365,” Trademark and Service Mark Registration No. 4,185,310;

16                    e.     “Office 2012 Design,” Trademark and Service Mark Registration No.

17                           4,459,826;

18                    f.     “Office (w/ Office 2012 Design),” Trademark Registration No.

19                           4,456,462;

20                    g.     “WINDOWS,” Trademark Registration No. 1,872,264; and

21                    h.     “Windows Flag Design (2012),” Trademark Registration No. 4,400,958.

22                    i.     “Azure,” Trademark and Service Mark Registration No. 4,932,997.

23    Microsoft has developed these trademarks and service marks and advertises, markets,

24    distributes, and licenses products using them, including Office 365.

25           12.      Office 365 can be licensed for consumer or personal use (through the Personal,

26    Home or Student products) or for commercial use (through the Business or Enterprise

27    products). Using either type of Office 365 service requires the establishment of online

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 1    accounts.

 2           13.      For the consumer use products, a user must create or use an existing MSA

 3    consisting of an email address and password.

 4           14.      The commercial Office 365 products are created for organizations, which are

 5    identified as Tenants. User accounts within a Tenant are set-up in one of two ways that take

 6    advantage of Microsoft’s Azure Active Directory product—a cloud-based directory and

 7    identity management system. First, the Administrator of the Tenant can set up individual

 8    Office 365 Commercial User Accounts. Second, the Administrator can create several Accounts

 9    in bulk.

10           15.      Microsoft is committed to protecting customers’ MSAs, Tenants and

11    Commercial User Accounts from unauthorized access, and has devoted tremendous financial

12    and other resources to secure customer data.

13           B.       The Global Threat from Phishing Attacks

14           16.      Phishing is a broad term that can encompass many different activities. The

15    most well-known phishing schemes fall under the umbrella of social engineering attacks.

16    Generally, these schemes involve an individual or group creating spoofed emails that purport to

17    be from legitimate businesses, agencies or individuals.

18           17.      The initial emails can contain malicious files, but more commonly, these emails

19    are designed to lead the recipient to fake websites that trick users into divulging sensitive

20    information, such as financial account data, login credentials and other personally identifiable

21    information. Criminals behind the fake websites harvest personal information and use it to

22    access peoples’ accounts for their own illicit gain. They also sell the personal information to

23    other criminals who use it to inflict further harm on the victims.

24           18.      Beyond stealing peoples’ account credentials, the criminals behind these

25    schemes may also use the initial email or fake website to infect users’ computers with

26    dangerous malware. This malware further exposes unsuspecting victims’ personal information,

27    for example, by searching the computer for sensitive files, or even monitoring key strokes to

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 1    harvest personally identifiable information entered into other websites. Malicious software also

 2    allows the criminals to hijack a computer or network to propagate further attacks.

 3           19.        Over the last several years, phishing attacks have become both more prevalent

 4    and more sophisticated. The Anti-Phishing Working Group (“APWG”), a nonprofit that works

 5    to stop phishing, reports that phishing attacks increased over 65% between 2015 and 2016

 6    alone. See http://docs.apwg.org/reports/apwg_trends_report_q4_2016.pdf. In fact, the APWG

 7    reports that phishing attacks have increased by a staggering 5,753% since 2004. There are tens

 8    of thousands of phishing sites that work to impersonate hundreds of brands. Phishing attacks

 9    have been blamed for a number of the most notorious recent cybersecurity incidents.

10           C.         Microsoft’s Efforts to Screen and Stop Malicious Attacks on Office 365
                        Users
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             20.        One of the most effective ways to stop phishing schemes is to prevent the
12
      harmful messages from even reaching users. Microsoft has invested significant resources to
13
      build robust defenses to stop malicious messages. In particular, Microsoft has engineered
14
      Office 365 to protect against spam, viruses and malware from even reaching Office 365 users.
15
      For example, Microsoft has built multiple spam filters into Office 365 mail accounts so
16
      customers’ email addresses are protected from the moment the first message is received.
17
      Microsoft also uses three anti-malware engines to detect potentially dangerous software that
18
      may be sent to users. As part of this effort, Microsoft has also spent significant time and
19
      resources to flag millions of URLs as dangerous in order to stop threatening emails from
20
      reaching users.
21
             21.        Microsoft also offers Office 365 Advanced Threat Protection, which helps
22
      protect a user’s mailbox against new, sophisticated attacks in real time. One protection
23
      included in this program, Safe Attachments, is a real-time behavioral malware analysis that
24
      uses machine learning techniques to evaluate email content for suspicious activity.
25
      Attachments deemed unsafe are sandboxed in a detonation chamber before being sent to
26
      recipients. Another program, Safe Links, protects Office 365 users clicking on a link in an
27

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 1    email. While the content is being scanned, the URLs are rewritten to go through Office 365.

 2    The URLs are examined in real time, at the time a user clicks them. If a link is unsafe, the user

 3    is warned not to visit the site or informed that the site has been blocked.

 4           22.      In addition to stopping phishing attempts before they reach users, Microsoft also

 5    investigates, identifies and stops the criminals behind malicious attacks. One of many ways

 6    Microsoft does this is by taking legal action, such as this one, to protect their customers from

 7    malicious attacks.

 8           D.       Defendants’ Phishing Scheme

 9           23.      On information and belief, Defendants are engaged in a systematic and wide-

10    spread phishing campaign perpetrated on unwitting people across the United States.

11    Defendants’ unlawful phishing scheme infringes Microsoft’s intellectual property and misleads

12    people into believing the messages are either from Microsoft or that Defendants are affiliated

13    with Microsoft.

14           24.      On information and belief, Defendants scheme starts by sending unsolicited bulk

15    email purporting to be from the “The account team,” to their potential victims (“Phishing

16    Email”). The emails’ subject is “Email 365 Termination Last Notice, Update Today.” The

17    body of the email states that “we’ve detected your Email account is due for upgrade today. To

18    help keep you Active, we’ve required an Account Update.” The email goes on to state

19    “Validate today to avoid instant email closure” and then provides a button for the user to click

20    on. A screenshot of this Phishing Email is below:

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11           25.      By clicking on the “Validate Account Now” button, the user is brought to a page
12    that purports to be a login page to Office 365 (the “Phishing Page”). This page uses
13    Microsoft’s trademarks to create the appearance of being a legitimate Microsoft webpage when
14    in reality it is a counterfeit of Microsoft’s Office 365 login page that deceives consumers. The
15    following are screenshots of Defendants’ Phishing Page and Microsoft’s authentic login page.
16    Defendants’ Phishing Page:
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 1    Microsoft’s legitimate login page:

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             26.      The Phishing Page to which the Phishing Email directed the recipient is not
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      affiliated with Microsoft. The Phishing Page unlawfully uses Microsoft’s valuable intellectual
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      property for the purposes of deceiving visitors to the page into thinking it is a legitimate,
15
      authorized webpage from Microsoft and, on information and belief, does in fact, deceive some
16
      number of those visitors.
17
             27.      On information and belief, the Phishing Page was designed, maintained and
18
      operated by Defendants in a scheme to illegally capture Microsoft’s customers’ credentials
19
      (among other harm) and use those credentials to access the customers’ Microsoft Account
20
      without authorization to further Defendants’ unlawful scheme.
21
             28.      The Phishing Page is located on a website that uses the domain name
22
      defendworld.eu. Based on a search of public records relating to this domain, the registrar is
23
      GoDaddy.com, LLC. The registrant of the domain is listed as “Nuno Pires.” The content from
24
      the website is hosted on a server that belongs to a third-party web hosting company, A2
25
      Hosting, Inc.
26

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 1           29.      After entering login credentials on the Phishing Page, sometimes a Pop-Up

 2    dialogue box would present to the user (“Pop-Up”). This Pop-Up purported to be a safety alert

 3    from Microsoft: “Windows Defender Alert: Zeus Virus Detected In Your Computer.” (The

 4    Zeus virus is a well-known Trojan horse malware program.) The Pop-Up provided a number

 5    for the user to call at “Microsoft’s Technical Department.” A screenshot of one version of the

 6    Pop-Up is below:

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17           30.      The Pop-Up is not affiliated with Microsoft, and unlawfully uses Microsoft’s
18    valuable intellectual property for the purposes of deceiving recipients into thinking it is a
19    legitimate, authorized message from Microsoft.

20           31.      On information and belief, the Pop-Up was designed, maintained and operated

21    by Defendants in a scheme to unlawfully gain access to Office 365 accounts, a user’s computer

22    or system, Microsoft’s computer or system or gain unauthorized access to other sensitive

23    information. More specifically, the Pop-Up is part of a fraudulent technical support scam,

24    whereby Defendants scare recipients into believing their Microsoft software is infected with a

25    malicious virus in order to sell the victim unnecessary and phony “repair” services (among

26    other potential harms).

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 1           32.      The Pop-Up is hosted on a website that uses the domain azure1.us. Based on a

 2    search of public records relating to this domain, the registrar is NameCheap, Inc. The registrant

 3    of the domain is listed as “Anatoliu Golovin,” and the registrant’s email address is listed as

 4    opel73rus@gmail.com. The domain azure1.us is hosted on a server owned or controlled by

 5    Cloudflare, Inc.

 6                                     VI.     CAUSES OF ACTION

 7                                             FIRST CLAIM

 8                 Violations of the Computer Fraud and Abuse Act (18 U.S.C. § 1030)

 9           33.      Plaintiff re-alleges each paragraph above as if fully set forth here.

10           34.      On information and belief, Defendants knowingly and with intent to defraud,

11    and in furtherance of their intended fraud, accessed and are accessing Microsoft’s computer

12    systems (a protected computer) without authorization, or in excess of any authorized access,

13    and are thereby obtaining information (and other value) from Microsoft’s computer systems

14    and causing other damage to Microsoft and its customers.

15           35.      On information and belief, Defendants knowingly and with intent to defraud

16    obtained control of passwords or similar information through which Microsoft’s computer

17    systems computer may be accessed without authorization, with the intent to transfer the

18    passwords or similar information to another person.

19           36.      Microsoft’s computer systems are used in and affect foreign and/or interstate

20    commerce. Defendants’ trafficking in passwords and other similar information affects

21    interstate and/or foreign commerce.

22           37.      On information and belief, as a result of the actions alleged above, Microsoft has

23    suffered at least $5,000 in losses in a one year period, including but not limited to the loss of

24    customer goodwill and harm to Microsoft’s reputation as a result of Defendants’ activities, the

25    costs of identifying, assessing, and responding to those activities, including the costs of

26    investigation and litigation, and the costs of remedying and/or restoring harm caused by

27    Defendants’ activities.

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 1            38.     As a result of the activities alleged above, Microsoft is entitled to recover its

 2    economic damages, including without limitation the damages and losses set forth above.

 3            39.     Microsoft has suffered, is suffering, and will continue to suffer irreparable harm

 4    unless Defendants are enjoined from further unlawful conduct. Microsoft has no adequate

 5    remedy at law for Defendants’ wrongful conduct.

 6                                            SECOND CLAIM

 7            Violations of Washington’s Consumer Electronic Mail Act (RCW 19.190.080)

 8            40.     Plaintiff re-alleges each paragraph above as if fully set forth here.

 9            41.     Microsoft owns and has duly and properly registered a number of trademarks in

10    the United States Patent and Trademark Office on the Principal Register, as described in this

11    Complaint.

12            42.     On information and belief, through their illegal phishing pattern and practice,

13    Defendants solicited, requested and took action to induce persons to provide personally

14    identifying information by means of a web page, electronic mail message and the internet.

15            43.     On information and belief, in designing, sending, maintaining and operating the

16    Phishing Email, Phishing Page and Pop-Up, all of which illegally used Microsoft’s intellectual

17    property, including its trademarks, Defendant unlawfully represented themselves, either

18    directly or by implication, to be with or affiliated with Microsoft— all without Microsoft’s

19    authority or approval.

20            44.     As a result of Defendants’ unlawful conduct, Microsoft is entitled to its actual

21    damages or statutory damages of $5,000 per violation. Microsoft is also entitled to a trebling of

22    any damages award because Defendants’ phishing scheme constitutes a pattern and practice

23    that violates RCW 19.190.080, and to its reasonable attorneys’ fees and costs in bringing this

24    case.

25            45.     Microsoft has suffered, is suffering, and will continue to suffer irreparable harm

26    unless Defendants are enjoined from further unlawful conduct. Microsoft has no adequate

27    remedy at law for Defendants’ wrongful conduct.

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 1                                             THIRD CLAIM

 2                              Trademark Infringement (15 U.S.C. § 1114)

 3           46.      Plaintiff re-alleges each paragraph above as if fully set forth here.

 4           47.      Defendants’ activities constitute infringement of Microsoft’s federally registered

 5    trademarks and service marks with the registration numbers listed above.

 6           48.      Microsoft advertises, markets, distributes, and licenses its software and related

 7    components under the trademarks and service marks described above and uses these trademarks

 8    and service marks to distinguish Microsoft’s products from the software and related items of

 9    others in the same or related fields.

10           49.      Because of Microsoft’s long, continuous, and exclusive use of these trademarks

11    and service marks, they have come to mean, and are understood by customers, end users, and

12    the public to signify software programs and related components or services of Microsoft.

13           50.      The infringing materials that Defendants created, sent and continue to send to

14    persons are likely to cause confusion, mistake, or deception as to the material’s source, origin,

15    or authenticity.

16           51.      Further, Defendants’ activities are likely to lead the public to conclude,

17    incorrectly, that the infringing materials that Defendants send to persons originate with or are

18    authorized by Microsoft, thereby harming Microsoft, its licensees, and the public.

19           52.      As a result of Defendants’ wrongful conduct, Microsoft is entitled to recover its

20    actual damages, Defendants’ profits attributable to the infringement, and treble damages and

21    attorney fees pursuant to 15 U.S.C. § 1117 (a) and (b). Alternatively, Microsoft is entitled to

22    statutory damages under 15 U.S.C. § 1117(c).

23           53.      Microsoft is further entitled to injunctive relief and an order compelling the

24    impounding of all infringing materials. Microsoft has no adequate remedy at law for

25    Defendants’ wrongful conduct because, among other things: (a) Microsoft’s trademarks and

26    service marks are unique and valuable property that have no readily determinable market value;

27    (b) Defendants’ infringement constitutes harm to Microsoft’s reputation and goodwill such that

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 1    Microsoft could not be made whole by any monetary award; (c) if Defendants’ wrongful

 2    conduct is allowed to continue, the public is likely to become further confused, mistaken, or

 3    deceived as to the source, origin or authenticity of the infringing materials; and (d) Defendants’

 4    wrongful conduct, and the resulting harm to Microsoft, is continuing.

 5                                            FOURTH CLAIM

 6                             False Designation of Origin (15 U.S.C. § 1125(a))

 7           54.      Plaintiff re-alleges each paragraph above as if fully set forth here.

 8           55.      Microsoft advertises, markets, distributes, and licenses its software and services,

 9    and uses its trademarks and service marks outlined in this Complaint to distinguish Microsoft’s

10    software and related components and services from the products or services of others in the

11    same field or related fields.

12           56.      Microsoft has also designed non-functional distinctive and aesthetically pleasing

13    displays, logos, icons, and graphic images for its software programs and related components.

14    Microsoft’s Office 365 login page contains a clearly articulable design and combination of

15    elements, as shown in this Complaint, which uses Microsoft’s name, certain trademarks, an

16    image on the Pacific Coast Highway with blue tiles in the foreground on the left-hand side of

17    the site, and a white login area on the right hand side (“Trade Dress”).

18           57.      Because of Microsoft’s long, continuous, and exclusive use of the Microsoft

19    marks, and because of its use of the Trade Dress, they are inherently distinctive or have come

20    to mean, and are understood by customers, end users and the public to signify products and

21    services of Microsoft.

22           58.      On information and belief, Defendants’ wrongful conduct includes the use of

23    Microsoft’s trademarks and service marks, Trade Dress, name, and/or imitation visual designs

24    (specifically displays, logos, icons, and/or graphic designs virtually indistinguishable from

25    Microsoft virtual designs) in connection with their goods and services, including on the

26    Phishing Page and Pop-Up.

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 1            59.      On information and belief, Defendants engaged in such wrongful conduct with

 2    the purpose of misleading or confusing customers and the public as to the origin, authenticity,

 3    or association of the goods and services advertised, marketed, installed, provided, offered, or

 4    distributed in connection with Microsoft’s trademarks, service marks, name, and imitation

 5    visual designs, and of trading on Microsoft’s goodwill and business reputation. Defendants’

 6    conduct constitutes false designation of origin in violation of Section 43(a) of the Lanham Act,

 7    15 U.S.C. § 1125(a).

 8            60.         As a result of Defendants’ wrongful conduct, Microsoft is entitled to recover its

 9    actual damages, Defendants’ profits, and treble damages and attorney fees pursuant to 15

10    U.S.C. § 1117.

11            61.         Further, Microsoft is entitled to injunctive relief. Microsoft has no adequate

12    remedy at law for Defendants’ wrongful conduct because, among other things: (a) Microsoft’s

13    trademarks, service marks, Trade Dress, name, and visual designs are unique and valuable

14    property which have no readily-determinable market value; (b) Defendants’ advertising,

15    marketing, or distribution of imitation visual designs constitutes harm to Microsoft such that

16    Microsoft could not be made whole by any monetary award; and (c) Defendants’ wrongful

17    conduct, and the resulting damage to Microsoft, is continuing.

18                                        VII.    PRAYER FOR RELIEF

19            WHEREFORE, Microsoft respectfully prays for the following relief:

20            A.       That the Court enter judgment in Microsoft’s favor on all claims;

21            B.       That the Court permanently restrain and enjoin Defendants, their directors,

22    principals, officers, agents, representatives, employees, attorneys, successors and assigns, and

23    all others in active concert or participation with it, from:

24                   i.          Accessing, or attempting to access, Microsoft’s computer systems

25    without authorization, or in excess of any authorized access, and thereby obtaining information

26    (and other value) from Microsoft’s computer systems and causing other damage to Microsoft’s

27    computer systems and/or customers.

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 1                 ii.       Any infringing use of, or making or inducing others to infringe,

 2    Microsoft’s trademarks, service marks, or trade dress including the trademarks and trade dress

 3    identified above;

 4                 iii.      Sending any commercial electronic messages that contain any of

 5    Microsoft’s trademarks, service marks or trade dress, including those identified above, or

 6    otherwise representing that Defendants, either directly or by implication, are from or affiliated

 7    with Microsoft; and

 8                 iv.       Assisting, aiding, or abetting any other person or business entity in

 9    engaging in or performing any of the activities listed above;

10           C.       That Defendants be required to pay all general, special, actual, punitive and

11    statutory damages which Microsoft has sustained, or will sustain, as a consequence of

12    Defendants’ unlawful acts, and that such damages be enhanced, doubled, or trebled as provided

13    for by 15 U.S.C. § 1117(b) and RCW 19.190.090;

14           D.       That Defendants be required to pay to Microsoft both the costs of this action and

15    the reasonable attorneys’ fees incurred by Microsoft in prosecuting this action, as provided for

16    by 15 U.S.C. § 1117 and RCW 19.190.090 (among other places); and

17           E.       That the Court grant Microsoft such other, further, and additional relief as the

18    Court deems just and equitable.

19           DATED this 15th day of December, 2017.

20                                                      DAVIS WRIGHT TREMAINE LLP
                                                        Attorneys for Microsoft Corporation
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